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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re                                           §
                                                 §
                                                                        Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,                    §
 L.P.,                                           §
                                                               Case No. 19-34054-sgj11
                                                 §
          Debtor.                                §
                                                 §
 HIGHLAND CAPITAL MANAGEMENT,                    §
 L.P.,                                           §
                                                 §
          Plaintiff,                             §
                                                 §                 Adv. No. 21-03005
 v.                                              §
                                                 §
 NEXPOINT ADVISORS, L.P.                         §
                                                 §
          Defendant.                             §

                                DEFENDANT’S ORIGINAL ANSWER

         COMES NOW NexPoint Advisors, L.P. (the “Defendant”), the defendant in the above-

styled and numbered adversary proceeding (the “Adversary Proceeding”) filed by Highland

Capital Management, L.P. (the “Plaintiff”), and files this its Defendant’s Original Answer (the

“Answer”), responding to the Complaint for (I) Breach of Contract and (II) Turnover of Property




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of the Debtor’s Estate (the “Complaint”). Where an allegation in the Complaint is not expressly

admitted in this Answer, it is denied.

                                 PRELIMINARY STATEMENT

          1.   The first sentence of ¶ 1 sets forth the Plaintiff’s objective in bringing the Complaint

and does not require a response. To the extent it contains factual allegations, they are denied. The

second sentence contains a legal conclusion that does not require a response. To the extent it

contains factual allegations, they are denied.

          2.   Paragraph 2 contains a summary of the relief the Plaintiff seeks and does not require

a response. To the extent it contains factual allegations, they are denied.

                                 JURISDICTION AND VENUE

          3.   The Defendant admits that this Adversary Proceeding relates to the Plaintiff’s

bankruptcy case but denies any implication that this fact confers Constitutional authority on the

Bankruptcy Case to adjudicate this dispute. Any allegations in ¶ 3 not expressly admitted are

denied.

          4.   The Defendant admits that the Court has statutory (but not Constitutional)

jurisdiction to hear this Adversary Proceeding. Any allegations in ¶ 4 not expressly admitted are

denied.

          5.   The Defendant denies that a breach of contract claim is core. The Defendant denies

that a § 542(b) turnover proceeding is the appropriate mechanism to collect a contested debt. The

Defendant admits that a § 542(b) turnover proceeding is statutorily core but denies that it is

Constitutionally core under Stern v. Marshall. The Defendant does not consent to the Bankruptcy

Court entering final orders or judgment in this Adversary Proceeding. Any allegations in ¶ 5 not

expressly admitted are denied.

          6.   The Defendant admits ¶ 6 of the Complaint.


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                                          THE PARTIES

       7.      The Defendant admits ¶ 7 of the Complaint.

       8.      The Defendant admits ¶ 8 of the Complaint.

                                     CASE BACKGROUND

       9.      The Defendant admits ¶ 9 of the Complaint.

       10.     The Defendant admits ¶ 10 of the Complaint.

       11.     The Defendant admits ¶ 11 of the Complaint.

       12.     The Defendant admits ¶ 12 of the Complaint.

                                    STATEMENT OF FACTS

A.     The NPA Notes

       13.     The Defendant admits that it has executed at least one promissory note under which

the Debtor is the payee. Any allegations in ¶ 13 not expressly admitted are denied.

       14.     The Defendant admits ¶ 14 of the Complaint.

       15.     The Defendant denies ¶ 15 of the Complaint. The document speaks for itself and

the quote set forth in ¶ 15 is not verbatim.

       16.     The Defendant admits ¶ 16 of the Complaint.

       17.     The Defendant denies ¶ 17 of the Complaint. The document speaks for itself and

the quote set forth in ¶ 17 is not verbatim.

       18.     The Defendant admits ¶ 18 of the Complaint.

B.     NPA’s Default under the Note

       19.     The Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations in ¶ 19 of the Complaint and therefore denies the same.

       20.     The Defendant admits that Exhibit 2 to the Complaint (the “Demand Letter”) is a

true and correct copy of what it purports to be and that the document speaks for itself. To the


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extent ¶ 20 of the Complaint asserts a legal conclusion, no response is required, and it is denied.

To the extent not expressly admitted, ¶ 20 of the Complaint is denied.

        21.    The Defendant admits that it paid the Debtor $1,406,111.92 on January 14, 2021.

To the extent not expressly admitted, paragraph 21 of the Complaint is denied.

        22.    The Defendant admits that Exhibit 3 to the Complaint (the “Second Demand

Letter”) is a true and correct copy of what it purports to be and that the document speaks for itself.

To the extent ¶ 22 of the Complaint asserts a legal conclusion, no response is required, and it is

denied. To the extent not expressly admitted, ¶ 22 of the Complaint is denied.

        23.    To the extent ¶ 23 of the Complaint asserts a legal conclusion, no response is

necessary, and it is denied. The Defendant otherwise admits ¶ 23 of the Complaint.

        24.    The Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations in ¶ 24 of the Complaint and therefore denies the same.

        25.    The Defendant denies ¶ 25 of the Complaint.

                                  FIRST CLAIM FOR RELIEF
                                    (For Breach of Contract)

        26.    Paragraph 26 of the Complaint is a sentence of incorporation that does not require

a response. All prior denials are incorporated herein by reference.

        27.    Paragraph 27 of the Complaint states a legal conclusion that does not require a

response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

to form a belief about the truth of the allegations in ¶ 27 of the Complaint and therefore denies the

same.

        28.    Paragraph 28 of the Complaint states a legal conclusion that does not require a

response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient




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to form a belief about the truth of the allegations in ¶ 28 of the Complaint and therefore denies the

same.

        29.    Paragraph 29 of the Complaint states a legal conclusion that does not require a

response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

to form a belief about the truth of the allegations in ¶ 29 of the Complaint and therefore denies the

same.

        30.    The Defendant denies ¶ 30 of the Complaint.

                              SECOND CLAIM FOR RELIEF
                    (Turnover by HCMFA Pursuant to 11 U.S.C. § 542(b))

        31.    Paragraph 31 of the Complaint is a sentence of incorporation that does not require

a response. All prior denials are incorporated herein by reference.

        32.    Paragraph 32 of the Complaint states a legal conclusion that does not require a

response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

to form a belief about the truth of the allegations in ¶ 32 of the Complaint and therefore denies the

same.

        33.    Paragraph 33 of the Complaint states a legal conclusion that does not require a

response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

to form a belief about the truth of the allegations in ¶ 33 of the Complaint and therefore denies the

same.

        34.    The Defendant denies ¶ 34 of the Complaint.

        35.    Paragraph 35 of the Complaint states a legal conclusion that does not require a

response. The Defendant admits that the Plaintiff transmitted the Demand Letter and the Second

Demand Letter, and those documents speak for themselves. To the extent ¶ 35 alleges other facts,




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the Defendant lacks knowledge or information sufficient to form a belief about the truth of the

allegations in ¶ 35 of the Complaint and therefore denies the same.

        36.      The Defendant denies ¶ 36 of the Complaint.

        37.      Paragraph 37 of the Complaint states a legal conclusion that does not require a

response. To the extent it alleges facts, the Defendant lacks knowledge or information sufficient

to form a belief about the truth of the allegations in ¶ 37 of the Complaint and therefore denies the

same.

        38.      The Defendant denies that the Plaintiff is entitled to the relief requested in the

prayer, including parts (i), (ii), and (iii).

                                     AFFIRMATIVE DEFENSES

        39.      Pursuant to that certain Shared Services Agreement, the Plaintiff was responsible

for making payments on behalf of the Defendant under the note. Any alleged default under the

note was the result of the Plaintiff’s own negligence, misconduct, breach of contract, etc.

        40.      Delay in the performance of a contract is excused when the party who seeks to

enforce the contract caused the delay. It was therefore inappropriate for the Plaintiff to accelerate

the note when the brief delay in payment was the Plaintiff’s own fault.

        41.      Furthermore, the Plaintiff was waived the right to accelerate the note and/or the

Plaintiff is estopped to enforce the alleged acceleration.

                                            JURY DEMAND

        42.      The Defendant demands a trial by jury of all issues so triable pursuant to Rule 38

of the Federal Rules of Civil Procedure and Rule 9015 of the Federal Rules of Bankruptcy

Procedure.

        43.      The Defendant does not consent to the Bankruptcy Court conducting a jury trial

and therefore demands a jury trial in the District Court.


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                                            PRAYER

       WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully request that,

following a trial on the merits, the Court enter a judgment that the Plaintiff take noting on the

Complaint and provide the Defendant such other relief to which it is entitled.

       RESPECTFULLY SUBMITTED this 1st day of March, 2021.

                                                     MUNSCH HARDT KOPF & HARR, P.C.

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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on the 1st day of March, 2021, a true and correct
copy of this document was electronically served by the Court’s ECF system on parties entitled to
notice thereof, including counsel for the Plaintiff.

                                                   /s/ Davor Rukavina
                                                      Davor Rukavina, Esq.




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